          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :

                v.                             :       CRIMINAL NO. 21-312

JOHN BRADY                                     :


               GOVERNMENT’S MOTION FOR ORDER OF FORFEITURE

               The United States of America, by and through its attorneys, Jennifer Arbittier

Williams, United States Attorney for the Eastern District of Pennsylvania, and Louis D. Lappen,

Deputy United States Attorney, respectfully requests entry of an order of forfeiture, and, in

support of this motion, the United States represents as follows:

               1.      On August 11, 2021, John Brady was charged by information with

violating 18 U.S.C. §§ 666(a)(1)(A), and 2, theft from an organization receiving federal funds

and aiding and abetting (Count One), and 18 U.S.C. § 1343, wire fraud (Count Two). The

information also contained Notices of Forfeiture, which alleged that the defendant’s interest in

certain property was forfeitable pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(3)(A),

and 28 U.S.C. § 2461, as a result of the violations charged in the information. The Notices of

Forfeiture also provided notice that, in the event such property cannot be located, the government

would seek to recover substitute assets pursuant to 21 U.S.C. § 853(p).

               2.      On or about February 1, 2022, the defendant pleaded guilty to Counts One

and Two of the information.

               3.      As a result of his guilty plea, the defendant is required, and has agreed,

pursuant to 18 U.S.C. § 982(a)(3)(A), to forfeit criminally his interest in any property, real or

personal, which represents or is traceable to the gross receipts obtained, directly or indirectly, as
                                                -1-
          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 2 of 8




a result of such violation of 18 U.S.C. §§ 666(a)(1)(A) and 2, as charged in Count One of the

information, and to criminally forfeit any property, real or personal, which constitutes or is

derived from proceeds traceable to a “specified unlawful activity,” that is wire fraud, in violation

of 18 U.S.C. § 1343, as charged in Count Two of the information.

               4.      Pursuant to the terms of the plea agreement, the defendant has agreed to

the entry of a forfeiture money judgment, which the parties agree should be in the amount of

$12,699, which represents the proceeds that the defendant obtained as a result of his violations as

charged in Counts One and Two of the information. Based upon the defendant’s plea agreement

and the facts set forth in the government’s plea memorandum, and in the record as a whole, the

government avers that the sum of $12,699 in United States currency is subject to forfeiture as a

result of the defendant’s guilty plea as to Counts One and Two of the information, and that the

government has established the requisite nexus between such property and the offenses. This

amount represents the value of proceeds that he obtained as a result of 18 U.S.C. § 981(a)(1)(C)

and 18 U.S.C. § 982(a)(3)(A). See Honeycutt v. United States, 137 S. Ct. 1626 (2017)

(a defendant must forfeit the property that he himself acquired from the offense giving rise to the

forfeiture); United States v. Gjeli, 867 F.3d 418, 426-27 (3d Cir. 2017) (applying Honeycutt to

forfeitures of proceeds under 18 U.S.C. § 1963 and 18 U.S.C. § 981(a)(1)(C)); United States v.

Brown, 694 Fed. App’x 57, 2017 WL 3404979 (3d Cir. Aug. 9, 2017) (applying Honeycutt to

forfeitures of proceeds under 18 U.S.C. § 982(a)(2)); United States v. Vampire Nation, 451 F.3d

189, 202 (3d Cir. 2006) (an in personam forfeiture money judgment may be entered against the

defendant for the full amount of the criminal proceeds); Fed. R. Crim. P. 32.2(b)(1) (where the

government seeks an order of forfeiture for criminal proceeds, the court must determine the

amount of money that the defendant will be ordered to pay).


                                                -2-
            Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 3 of 8




                5.     The government, therefore, seeks an order of forfeiture and the entry of a

money judgment for $12,699. Under 18 U.S.C. § 981(a)(1)(C) and 18 U.S.C. § 982(a)(3)(A),

this sum represents the proceeds that the defendant obtained as a result of his commission of

offenses set forth in Counts One and Two of the information.

                6.     The defendant admits, pursuant to his plea agreement, that, due to his acts

or omissions, the $12,699 in proceeds is not currently available to the government for forfeiture,

and that the government is entitled to the forfeiture of substitute assets because one or more of

the conditions in 21 U.S.C. § 853(p) have been met. Based upon the defendant’s plea agreement,

and the facts set forth in the government’s plea memorandum, and in the record as a whole, the

defendant has dissipated the proceeds that he obtained, and the United States cannot locate the

proceeds upon the exercise of due diligence, and one or more of the conditions in 21 U.S.C.

§ 853(p) have been met. Accordingly, pursuant to 21 U.S.C. § 853(p) and Federal Rule of

Criminal Procedure 32.2(e)(1)(B), the government is authorized to seek forfeiture of substitute

assets of the defendant up to the amount of $12,699. 21 U.S.C. § 853(p); Fed. R. Crim. P.

32.2(b)(2). 1



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          Title 21 U.S.C. § 853(p) provides that the government is entitled to the forfeiture of
substitute property if, as a result of any act of the defendant, forfeitable property cannot be found
upon the exercise of due diligence or has been transferred or deposited with a third party. Fed.
R. Crim. P. 32.2(e)(1)(B) provides that the court may, at any time, amend an existing order of
forfeiture to include substitute property. The government may forfeit substitute assets to satisfy
a forfeiture money judgment. See, e.g., United States v. Hall, 434 F.3d 42, 58 n.7 (1st Cir. 2006)
(substitute assets may be forfeited to satisfy a forfeiture order for a sum of money that the
defendant, by his act or omission, has prevented the government from tracing); United States v.
Moses, No. 1:05-CR-133, 2010 WL 3521725, at *9 (D. Vt. Sept. 7, 2010) (any property not
forfeited as proceeds or facilitating property may be forfeited as substitute assets to satisfy the
money judgment); United States v. George, No. 1:09cr431, 2010 WL 1740814, at *3 (E.D. Va.
Apr. 26, 2010) (defendant ordered to forfeit annuity payments she was entitled to receive for the
next ten years as substitute asset in partial satisfaction of money judgment); United States v.
Carroll, 346 F.3d 744, 749 (7th Cir. 2003) (defendant may be ordered to forfeit “every last
penny” he owns as substitute assets to satisfy money judgment).
                                                -3-
          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 4 of 8




               7.      The government requests authority to conduct discovery, in accordance

with Federal Rule of Criminal Procedure 32.2(b)(3) and 21 U.S.C. § 853(m), to identify, locate,

and dispose of property subject to forfeiture and to address any third-party claims.

               8.      Because the government seeks only a forfeiture order in the amount of

proceeds that the defendant obtained and does not seek the forfeiture of any specific asset at this

time, advertisement of the order and third-party proceedings are not required. Fed. R. Crim. P.

32.2(c)(1) (no ancillary proceedings to address third party claims required where forfeiture does

not include specific property).

               For the reasons stated above, the government requests that this Court enter the

attached Order.

                                                 Respectfully submitted,

                                                  JENNIFER ARBITTIER WILLIAMS
                                                  United States Attorney


                                                  SARAH L. GRIEB
                                                  Assistant United States Attorney
                                                  Chief, Asset Recovery and Financial Litigation


                                                  /s/ Louis D. Lappen
                                                  LOUIS D. LAPPEN
                                                  Deputy United States Attorney

Date: May 5, 2022




                                                -4-
          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 5 of 8




                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :

                v.                             :       CRIMINAL NO. 21-312

JOHN BRADY                                     :



                                   ORDER OF FORFEITURE

               IT IS HEREBY ORDERED THAT:

               1.      As a result of defendant John Brady’s guilty plea as to Counts One and

Two of the information charging him violating 18 U.S.C. §§ 666(a)(1)(A) and 2, theft from an

organization receiving federal funds and aiding and abetting (Count One), and 18 U.S.C. § 1343,

wire fraud (Count Two), the defendant is required pursuant to 18 U.S.C. § 982(a)(3)(A), to

forfeit criminally his interest in any property, real or personal, which represents or is traceable to

the gross receipts obtained, directly or indirectly, as a result of such violation of 18 U.S.C.

§§ 666(a)(1)(A) and 2, as charged in Count One of the information, and to criminally forfeit any

property, real or personal, which constitutes or is derived from proceeds traceable to a “specified

unlawful activity,” that is wire fraud, in violation of 18 U.S.C. § 1343, as charged in Count Two

of the information.

               2.      All property that constitutes or is derived from proceeds traceable to the

commission of such offenses is forfeited to the United States.

               3.      The sum of $12,699 represents the value of property that constitutes any

property, real or personal, which represents or is traceable to the gross receipts obtained, directly

or indirectly, as a result of such violation of 18 U.S.C. §§ 666(a)(1) and 2, as charged in Count

One of the information, and or represents any property, real or personal, which constitutes or is
          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 6 of 8




derived from proceeds traceable to a “specified unlawful activity,” that is wire fraud, in violation

of 18 U.S.C. § 1343, as charged in Count Two of the information.

               4.      The defendant shall forfeit to the United States the $12,699 in proceeds

that he obtained as a result of his commission of the offenses charged in Counts One and Two of

the information, pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(3)(A), and Federal

Rule of Criminal Procedure 32.2(b)(2). A money judgment in the amount of $12,699 is hereby

entered against the defendant.

               5.      Pursuant to 21 U.S.C. § 853(p), due to the defendant’s acts or omissions,

these proceeds are not currently available because the defendant has dissipated or otherwise

spent the proceeds that he obtained. The United States is authorized to seek forfeiture of

substitute assets of the defendant up to the amount of the uncollected money judgment. The

government may move at any time, pursuant to Federal Rule of Criminal Procedure

32.2(e)(1)(B), to amend this Order to forfeit specific property belonging to the defendant, having

a value up to the amount of the uncollected money judgment, as substitute assets.

               6.      Upon entry of this Order or any amendment thereto that is entered

pursuant to Federal Rule of Criminal Procedure 32.2(e), the Attorney General or a designee is

authorized to seize any specific property subject to forfeiture that is identified in this Order or

subsequent amendment, pursuant to Federal Rule of Criminal Procedure 32.2(b)(3).

               7.      Upon entry of this Order, the Attorney General or a designee, pursuant to

Federal Rule of Criminal Procedure 32.2(b)(3) and 21 U.S.C. § 853(m), is authorized to conduct

any discovery to identify, locate, and dispose of property subject to this Order and to address any

third-party claims, including depositions, interrogatories, requests for production of documents,

and subpoenas pursuant to Federal Rule of Civil Procedure 45.


                                                 -2-
          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 7 of 8




               8.      Because the government does not seek forfeiture of any specific asset at

this time, advertisement of the judgment and third-party proceedings are not required.

Fed. R. Crim. P. 32.2(c)(1) (no ancillary proceedings to address third-party claims required

where specific property is not being forfeited).

               9.      Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this forfeiture

Order shall become final as to the defendant at the time of sentencing and shall be made part of

the defendant’s sentence and included in the judgment and commitment order.

               10.     The Court shall retain jurisdiction to enforce this forfeiture Order, and to

amend it as necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).



               ORDERED this ___ day of _____________________, 2022.



                                       ____________________________________________
                                       HONORABLE C. DARNELL JONES, II
                                       United States District Judge




                                                   -3-
          Case 2:21-cr-00312-CDJ Document 13 Filed 05/05/22 Page 8 of 8




                                CERTIFICATE OF SERVICE

               I certify that a copy of the Government’s Motion for Order of Forfeiture and

proposed Forfeiture Order have been filed electronically in the Clerk’s Office Electronic Case

Filing (ECF) system and are available for viewing and downloading from the ECF system, and

that a true and correct copy of the motion and proposed order were served upon counsel for the

defendant by email and electronic filing, as follows:



                                  Phillip Steinberg
                                  1500 Walnut Street #300,
                                  Philadelphia, PA 19102
                                  psteinberg@s2firm.com




                                             /s/ Louis D. Lappen
                                             LOUIS D. LAPPEN
                                             Deputy United States Attorney


Date: May 5, 2022
